            Case 1:23-cv-03158-JRR Document 1 Filed 11/20/23 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Baltimore Division

SAMPSON K. KYERE, JR.                          )
                                               )
       Plaintiff,                              )
                                               )
                                               )
v.                                             )    Case No.      1:23-cv-3158
                                               )
                                               )
LIFEBRIDGE HEALTH, INC., et al.,               )
                                               )
       Defendants.                             )
                                               )

                       NOTICE OF REMOVAL OF CIVIL ACTION

       LifeBridge Health Inc., Daniel Durand, Elizabeth Zadzielski, and Omar Zalatimo

(collectively, “Defendants”), appearing by counsel in a civil action brought by Plaintiff Sampson

K. Kyere, Jr., now presently pending as Case No. 24C23004512 in the Circuit Court of Baltimore

City, Maryland, hereby files this Notice of Removal, pursuant to 28 U.S.C. §§ 1331, 1441, and

1446, on the grounds that this action is founded, in part, on claims arising under the laws of the

United States. In support of its Notice of Removal, Defendants state as follows:

       1.      On October 19, 2023, Plaintiff filed a complaint against Defendants in the Circuit

Court of Baltimore City, styled and captioned as Sampson K. Kyere, Jr. v. LifeBridge Health Inc.

et al., and assigned Case No. 24C23004512 (“State Court Case”). A true and correct copy of the

Complaint is attached hereto as Exhibit 1.

       2.      On October 23, 2023, the State Court issued Summons to each of the Defendants.

The collected Summons are attached as Exhibit 2.

       3.      On October 26, 2023, Plaintiff served the Complaint and Summons on Defendant

Daniel Durand.
            Case 1:23-cv-03158-JRR Document 1 Filed 11/20/23 Page 2 of 4



       4.      On October 27, 2023, Plaintiff served the Complaint and Summons on Defendant

LifeBridge Health Inc.

       5.      On October 30, 2023, Plaintiff served the Complaint and Summons on Defendants

Elizabeth Zadzielski and Omar Zalatimo.

       6.      On November 9, 2023, Plaintiff filed a “Line Regarding Service” with the State

Court. A true and correct copy of that filing is attached as Exhibit 3.

       7.      This Notice of Removal is timely because it is being filed within the statutorily

allowed thirty-day period after the date Defendants were served with a copy of the initial pleading.

See 28 U.S.C. § 1446(b).

       8.      In Count 2 of the Complaint, Plaintiff alleges a claim for “Unlawful Medical

Inquiry and Medical Examination in Violation of ADA” in which he asserts against LifeBridge a

violation of the federal American Disabilities Act (“ADA”), 42 U.S.C. § 12112. See, e.g.,

Exhibit 1, ¶ 203.

       9.      Because the ADA is a federal statute, the United States District Court has original

jurisdiction pursuant to 28 U.S.C. § 1331.

       10.     Pursuant to 28 U.S.C. § 1441(a), the State Court Case may be removed to this Court

because the case gives rise to a federal question.

       11.     Under 28 U.S.C. §§ 1441 and 1446, the State Court Case may be removed to the

United States District Court for the District of Maryland because it is the Federal District Court

that embraces Baltimore City, Maryland within its jurisdiction.

       12.     Concurrent with the filing of this Notice of Removal, written notice thereof will be

given to the Plaintiff, a true and correct copy of which is attached as Exhibit 4.




                                                 2
           Case 1:23-cv-03158-JRR Document 1 Filed 11/20/23 Page 3 of 4



       13.     Concurrent with the filing of this Notice of Removal, written notice thereof will be

filed with the Clerk of the Circuit Court for Baltimore City, Maryland. A true and correct copy of

that Notice is attached as Exhibit 5.

       14.     In filing this Notice of Removal, Defendants do not waive and hereby expressly

reserve the right to assert any and all defenses.

       WHEREFORE, Defendants give notice that the above-captioned action is removed from

the Circuit Court of Baltimore City, Maryland to this Court.

Dated: November 20, 2023                                Respectfully submitted,


                                                          /s/ Micah E. Ticatch
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                                                        Counsel for Defendants




                                                    3
          Case 1:23-cv-03158-JRR Document 1 Filed 11/20/23 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of November 2023, I will electronically file and serve

a copy of the foregoing via electronic mail:

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                                    Sigrid C. Haines, Esq.
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                                    Counsel for Plaintiff


                                                       /s/ Micah E. Ticatch
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